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No. 16-17197

 

IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

 

FEDERAL TRADE COMNHSSION

Plaintijj”-Appellee,
v.

AMG CAPITAL MANAGEMENT, LLC, et al .,
Defendants-Appellams

On Appeal from the United States District Court
for the Distn`ct of Nevada
No. 2:12-cv-00536-GMN-VCF
Hon. Gloria M. Navano

 

BRIEF OF AMICUS CURME CAUSE OF AC'I`ION INSTI'I'UTE IN
SUPPORT OF DEFENDANTS-APPELLANTS’ PETI'I'ION FOR
REHEARING EN BANC

 

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RULE 26.1 CORPORATE DISCLGSURE STATEMENT

Amicus curiae Cause of Action Institute is a nonprofit corporation It has no

parent companies, subsidiaries, or affiliates that have issued shares or debt securities

to the public.

 

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INTEREST OF AMICUS CURIAEl

Amicus curiae Cause of Action Institute (“CoA”) is a nonproiit, nonpartisan
government oversight organization that uses investigative, legal, and
communications tools to educate the public on how government accountability,
transparency, the rule of law, and principled enforcement of the separation of powers
protect liberty and economic opportunity As part of this mission, it works to expose
and prevent government and agency misuse of power by appearing as amicus curiae
before federal courts. See, e.g., McCutcheon v. FEC, 134 S. Ct. 1434, 1460 (2014).

CoA has a particular interest in challenging the Federal Trade Commission’s
(“FTC” or “Commission”) ultra vires “expansion” of its enforcement powers by
bringing “test cases,” and curtailing FTC’s pattern and practice of separation-of-
powers violations in pursuit of its regulatory ambitions. ln order to fulfill this
mission, CoA has defended businesses, pro bono publica, against FTC enforcement
actions in federal courts, see, é.g., LabMD v.'FTC, 1:14-cv-00810~WSD, 2014 WL
1908716 (N.D. Ga. May 12, 2014), afd, 776 F.3d 1275 (1 lth Cir. 2015); FTC v.

D-Link Systems, 17-cv-00039-JD (N.D. Cal.), and before the Commission, see, e.g.,

 

1 Pursuant to FRAP 29(a)(4)(E), amicus curiae states that no counsel for a party
other than CoA authored this brief in whole or in part, and no counsel or party other
than CoA made a monetary contribution intended to fund the preparation or
submission of this brief. No person other than amicus curiae or its counsel made a
monetary contribution to its preparation or submission All parties have consented

to the filing of this brief.

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In re.' LabMD, Inc., FTC Dl<t. No. 9357. See also FTC v. Vylah Tec, 727 F. App’x
998 (1 lth Cir. 2018)(vacating injunction in part).

CoA has also represented amici who chose to speak out against FTC
overreach, see LabMD, Inc.` v. FTC, 891 F.3d 1286 (11th Cir. 2018)(vacating FTC
order), and participated as an amicus in FTC matters in this Circuit, see FTC v. AT&T
Mobility, 883 F.3d 848 (9th Cir. 2018)(en banc).

SUMMARY OF ARGUMENT

FTC has conscripted the courts to transmogrify the limited purpose of Section
13(b), restraining conduct pending administrative proceedings before the
Commission, to the broadest possible grant of power to administrative agencies,
ranging from shutting down businesses, imposing receiverships, seizing citizens’
entire personal assets and `disgorging them-all without express or even implied
grant of Congressional authority. FTC has convinced courts, including this one, to
bless its invented Section 13(b) powers via a sophisticated long-term litigation
strategy through which it slowly and methodically advanced novel, atextual legal
arguments in “test cases” involving egregious facts.

Bad facts make bad law. Once FTC got its foot in the door by convincing one

district court to buy the changes to Section 13(b), it just kept on expanding its powers
by suing garden-variety flaudsters and then citing back to this precedent to

incrementally develop caselaw and dicta legitimiziug its power-grab. FTC’s

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calculated litigation strategy for evading carefully cra&ed congressional limitations
on its authority worked: courts accepted FTC’s new power claims in these cases
based primarily on the fact that other courts had done so, without analyzing the
underlying basis of Congress’s grant of powers to FTC. These successes cannot
retroactively alter Section 13(b)’s statutory text and should not be permitted to stand.
Neither the plain language nor the legislative history of the FTC Act support this
extraordinary use of power by an administrative agency.

As set forth in AMG’s Petition and Judge O’Scannlain’s special concurrence,
joined by Judge Bea, the panel decision is at odds with the Supreme Court’s decision
in Kokesh v. SEC, 137 S. Ct. 1637 (2017),2 and contrary to the plain language,
structure, purpose, and history of Section 13(b). This case also raises questions of
exceptional importance that come up dozens of times every year, burdening this
Circuit with litigation that Congress intended to be pursued instead through FTC’s

administrative process. For these reasons, this Court should grant AMG’s Petition.

 

2 CoA agrees with but will not repeat AMG’s (and WLF’s) arguments here.

Nor will CoA burden this Court with repetition of the well-reasoned special
concurrences authored by Judge O’Scannlain and Judge Bea. However, CoA notes
that the issues raised by AMG’s Petition overlap with those raised by another fully
briefed Petition for Rehearing En Banc in this Circuit, which remains pending See
Pet. for Rehearing En Banc, Dkt. 51, FTC v. Publishers Business Services, No. 17-
15600 (9th Cir., filed Oct. 15, 2018); PBS Reply, Dkt. 61 (filed Jan. 10, 2019).

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ARGUMENT

I. FTC’s “EXPANsroN” or SECTION 13(B) VIOLATES SEPARATroN 0F
Powr:ns

A. Congress Established Multi-Step Process for Recovery of Money
Damages

FTC is a creature of statute, which possesses only those powers that Congress
chooses to confer upon it. See La. Pub. Serv. Com v. FCC, 476 U.S. 355, 374 (1986)
(“agency literally has no power to act...unless and until Congress confers power
upon it.” ;Lyng v. Payne, 476 U.S. 926, 937 (1986).

In 1938, Congress enacted Section 13, which for the Hrst time delegated to
FTC authority to seek preliminary (but not permanent) injunctive relief related to
violations of Section 12 of the FTC Act, 15 U.S.C. §52, which prohibits deceptive
advertising related to food, drugs, devices, services, or cosmetics. Wheeler-Lea Act
of 1938, ch. 49, 52 Stat. 111,115 (codified as amended at 15 U.S.C. §53(a)). This
stop-gap allowed FTC to temporarily halt such practices pending completion of the
administrative process. See, e.g., FTC v. Nat’l Health Aid.s‘, 108 F. Supp. 340, 341
(D. Md. 1952)(applying fenner version of §53).

In 1973, Congress amended Section 13 to provide FTC authority to put an
immediate stop to other deceptive practices by seeking a TRO or preliminary
injunction in federal court pending completion of the administrative process Trans-

Alaska Pipeline Authorization Act, §408(b),(f`), Pub. L. No. 93-153, 87 Stat. 576,

591-92 (1973)(c0dified at 15 U.S.C. §53(b)). See, e.g., FTC v. Sw. Sunsz`tes, Inc.,
4

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665 F.2d 711, 720 (5th Cir. 1982)(Section 13 authorizes enjoining ongoing alleged
deception while freezing assets pending completion of administrative and Section
19 judicial processes). Congress also added a “proviso” authorizing issuance of a
“perrnanent injunction” in “proper cases” after “proper proof.” 15 U.S.C. §53(b).3
Cf Penningron v. U.S., 48 Ct. C1.408, 415 (1913)(applying “proviso” canon).

ln 1974, this Court held that FTC was not allowed to obtain restitution through
an administrative cease-and-desist order. See Heater v. FTC, 503 F .2d 321, 323-24
(9th Cir. 1974)(rejecting FTC’s attempt to impose monetary liability “before giving
notice that the prior conduct was within the statutory purview.” (emphasis added)).
Then in 197 5, against the backdrop of Heater_and before FTC first claimed that
Section 13(b) authorized “equitable monetary relief”_Congress responded by
enacting Section 19 of the FTC Act.“

Section 19 for the first time provided FTC with statutory authorization to

obtain “restitution” and other backward-looking remedies under limited

 

3 See S. Rep. 93-151, 30-31 (1973)(“'I`he purpose of [Section l3(b)] is to
permit...[FTC] to bring an immediate halt to unfair or deceptive acts or practices

. when...[a]t the present time such practices might continue for several years until
agency action is completed.” FTC “will have the ability, in the routine h'aud case,
to merely seek a permanent injunction . . .”).

4 Contrary to FTC, Section 19 does not express any intention of expanding

FTC’s injunction powers under Section 13. See 15 U.S.C. §57b(e)(“Nothing in this
section shall be construed to affect any authority of the Commission under any other
provision of law.”). Instead, its purpose was to preserve FTC’s litigating position in
Heater. See Ward, infra, at 1193-94.

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circum stances, subject to a three-year statute of limitations See FTC Act, §19, tit.
11, §206(3), Pub. L. No. 93-637, 88 star 2183, 2201 (1975)(codtned at 15 U.S.C.
§57b). See generally Peter Ward, Restz`tution for Consumers Under the Federal
Trade Commission Act: Good lnrentions or Congressional ]ntentions, 41 AM. U. L.
REV. l 1 39 (1992). This reflected Congress’ carefully considered decision to balance
FTC’s desire to obtain monetary relief against basic fair-notice due process
principles: To recover damages, FTC would have to prove that “a reasonable man
would have known under the circumstances” that the conduct subject to the cease-
and-desist order “was dishonest or fraudulent.” 15 U.S.C. §57b(a)(2).

Congress also deliberately imposed additional procedural hurdles on FTC,
Unless FTC first used its Magnuson-Moss rulemaking authority to ban a particular
“unfair or deceptive” act or practice, see 15 U.S.C. §57b(a)(1), FTC could only
obtain money damages under Section 19 through a multi-step process: first, FTC
would need to obtain a final cease-and-desist order against an alleged violator
through the FTC’s in-house administrative process,5 see 15 U.S.C. §§45,57b(a)(2).

Next, subject to judicial review, see 15 U.S.C. §45(¢), and only after the order

 

5 lf a respondent violates a final order, it is liable for a civil penalty for each
violation See 16 C.F.R. §1.98(0). The penalty is assessed by a district court in a suit
brought to enforce the Commission’s order. 15 U.S.C. §45(1),(m). Section
5(m)(1)(B) provides that penalties may be imposed if the individual acted with
“actual knowledge” that the conduct was unlawful Like Section 19, Congress
similarly prohibited imposition of exemplary or punitive damages 15 U.S.C. §57(b).

6

 

 

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became final, see 15 U.S.C. §45(g), FTC could obtain monetary relief for conduct
related to the final cease-and-desist order if it could also prove a reasonable person
would understand such conduct to be dishonest or fraudulent6 15 U.S.C.
§57b(a)(2),(b); see Sw. Sunsites, 665 F.2d at 719 (“a consumer redress action as a
continuous two-phase process, the first phase being administrative adjudication, and
the second judicial determination of appropriate redress”).
B. FTC Rejects Congress’s Statutory Scheme
Initially, FTC seemingly accepted that Section 19 allowed it to obtain
consumer redress, but Section 13(b) did not. Particularly compelling evidence of
this carr be found in a version of FTC’s own Operating Manual predating “judicial
precedents regarding permanent injunctions under S [sic] 13 (b).” Judicial
Enforcement, Ch. 11, §.5.7, p.25, FTC Operating Manual, at
https://www.ftc.gov/sites/default/files[anachmenthQ-administrative-staff-
manuals/chl ljudiciggenforcement.pdf. There, FTC discussed at length and drew a
sharp distinction between “Consumer redress following the issuance of a final

adjudicated cease and desist order under FTCA § 19(a)(2)” and “Temporary and

permanent injunctions under FTCA § 13.” See id. §.1.1, p.2. Yet, it says nothing

 

6 This effectively prevented FTC from obtaining monetary relief in cases where

it announced for the first time in the administrative action that the conduct at issue
violates Section 5. See FTC v. Figgie lnt ’l, 994 F.2d 595, 603 (9th Cir.
1993)(“Section 19 liability must not be a rubber stamp of Section 5 liability.”).

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whatsoever about FTC seeking disgorgement, restitution, or any other “equitable

monetary relief” under Section 13(b) Nor does it mention “asset freezes” or

“receivers.”

But FTC eventually balked at Section 19’s procedural hurdles and sought a
“shortcut.” As a former FTC official would later highlight, “the problem” with
Section 19 was the procedural protections Congress chose to provide respondents

You needed three separate lawsuits to get final relief. You had to bring
a preliminary injunction in federal court and you had to bring a
complete Section 5 case, administrative case, all the way through, and
then you have to go for a Section 19 case. That is time consuming, and
it is very inefficient

So, actually by [1982], the Commission was already looking
at alternatives, because at the very tail end of Section 13(b).. .there are
14 key words, in proper cases the Commission may seek, and after
proper proof the court may issue a permanent injunction

And so, as a practical matter, today those 14 words are the basis
for the 13(b) program This legislative history doesn’t mention very
much about what that little proviso was intended to do, except that it
was thought that, well, the Commission could go to court in routine
fraud cases and get a permanent injunction . . .7

FTC’s current website echoes this: “Section 13(b) is preferable to the adjudicatory
process because, in such a suit, the court may award both prohibitory and monetary
equitable relief in one step.” See h@s://www.ftc.gov/about-ftc/what-we-

dol enforcement-authorigg.

 

7 Transcript, lnjunctions, Divestiture and Disgorgement, FTC at 90

Symposium, pp.12-13,
h@s://www.ftc.goy/sites/default/files/documents/public events/ftc-90th-
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This “shortcut” also relieved FTC of its burden of proving up Section l9’s
scienter requirement8 see 15 U.S.C. §57b(a)(2), and untethered FTC from Section
l9’s 3-year statute of limitations, see id. §57b(d).9 (This case illustrates why this
matters: FTC initiated its investigation in 2002 but did not sue until 2012, thereby
artificially inflating its damages calculations, in litigation announcing for the first
time that a payday lending company’s literally true contractual terms could be
“deceptive.” FTC therefore could not have obtained monetary relief under Section
19, even if it obtained a cease order via FTC’s administrative process.)

C. FTC Uses “Test Cases” to Expand Its Section 13(b) Powers

Given the absence of any language in the actual text of Section 13(b)
authorizing monetary relief, “equitable” or otherwise, how is it, then, that FTC
convinced the courts to adopt its policy preferences over those mandated by

Congress?10 A former Assistant Director for Litigation in FTC’s Bureau of

 

8 FTC has now abandoned any pretense of limiting its use of Section 13(b) to

circumstances involving knowingly wrongful conduct See also Statement of
Commissioner Maureen Ohlhausen Dissenting from the Commission’s Decision to
Withdraw its Policy Statement on Monetary Equitable Remedies in Competition
Cases (July 31, 2012), at

hggs://www.ftc.gov/sites/default/files/documents/public statements/statement-

commissioner-maureen-k.ohlhausen/ 1207 3lohlhausenstatement_.p_d_f

9 Courts have held that Section 13(b) actions are not subject to any statute of
limitations See FTC v. Dalbey, ll-cv-l396-RBJ-KLM, 2012 WL 1694602, at *2-
3 (D. Colo. May 15, 2012).

10 Cf. FTC v. Hornbeam Special Situations, l:l7-ev-3094-TCB, 2018 WL
6254580, at *5 (N.D. Ga. Oct. 15, 2018)(“[I]gnon'ng the clearly distinct statutory

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Consumer Protection (“BCP”), who was a key architect of the FTC’s expansion of
its Section 13(b) powers, has offered insights into FTC’s long-term strategic
litigation campaign to invade the legislative domain. See David Fitzgerald, The

Genesis of Consumer Protection Remedies Under Section 13(b) ofthe FTC Act, at

https://www.frc.gov/sites/default/iiles/document§(public events/FTC%2090th%20
ArmiverM%ZOSmposium/titzgeraldremedies.pdf. He advised:

0 “Step cautiously when proceeding boldly. In exploring its Section 13(b)
authority, the Commission moved warily, selecting cases with compelling
facts. . .before pursuing a more ambitious agenda.”" Id at 21-22.

0 “Don 't overlook the value of basic research. Neither the text of Section 13 (b)
nor its legislative history disclosed a basis to argue for broad equitable relief
Instead of stopping there, however, research into the case law interpreting
statutes conferring similar injunctive authority on other agencies led to the
Porter line of cases, providing critical support for a broad interpretation of
Section l3(b).” Id. at 22 (emphasis added).

0 “Being out of the spotlight can be an advantage....For those of us who saw
the development of Section 13(b) as important...it allowed us to pursue our
efforts with little interference.” ld.

o “Don ’t let naysayers discourage pursuit of a promising theory or approach
When the early cases were proposed, many people within the Comnu'ssiou
predicted they would be unsuccessful, because Section 13(b) authorized
only injunctive relief.” Id. (emphasis added).

 

language risks making the Court a super-legislature; it would be substituting its own
judgment for Congress’s.”).

“ Accord Transcript, lnjunctions, Divestiture and Disgorgement, FTC at 90

Symposium, p.l7 (FTC ‘\)vent from a statute that basically provides a one-sentence
permanent injunction proviso...and it has on a step-by-step basis expanded that.”),

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Echoing this, a former FTC Chainnan and Director of the FTC BCP have
explained: “Adrnittedly, this use of Section 13(b) was something of a ‘stretch.’
[T]here was some internal opposition, arguing, with considerable force, that the 197 5
amendments provided the exclusive road to iinancial relief.” J. I-Ioward Beales &
Timothy Muris, Striking the Proper Balance: Redress Under Section 13(b) of the
FTC Act, 79 ANTITRUSTL.J. 1, 2 (2013).

FTC proceeded anyway, moving wan`ly like a fox sneaking into the
henhouse_with staggering success.12 According to FTC, in 2017 alone it obtained
$5 .29 billion in redress and disgorgement, without including amounts suspended due
to defendants’ inability to pay. See FTC 2017 Annual Report, at
hgps://www,ftc.gov/reports/annual-highlights-ZO17/stats-and-data. All of this was
obtained without the safeguards Congress granted defendants under Section 19.

D. Inapposite Precedent Interpreting Different Statutes Enforced By
Different Agencies Cannot Override Plain Language

FTC’s mansion of favorable Section 13(b) precedent is built upon statutory
quicksand. There is no textual foundation for FTC’s claimed Section 13(b) powers.
15 U.S.C. §53(b). lt is black-letter law that agencies only possess powers Congress

ajirmatively chooses to delegate to them. La. Pub. Serv. Com., 476 U.S. at 374.

 

12 But cf. City of Arlington v. FCC, 569 U.S. 290, 307 (2013)(“'1`he fox-in-the-
henhouse syndrome is to be avoided. . .by taking seriously, and applying rigorously,
in all cases, statutory limits on agencies’ authority.”).

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Congress did not do so. That should end the matter Conn. Nat ’l Bank v. Germain,
503 U.S. 249, 253-54 (1992).

Congress need not expressly negate an agency’s claimed administrative
powers, as FTC appears to assume; “[w]ere courts to presume a delegation of power
absent an express withholding of such power, agencies would enjoy virtually
limitless hegernony, a result plainly out of keeping with Chevron and quite likely
with the Constitution as well.” Ry. Labor Executives'Ass'n v. Nat'l Mediation Bd.,
29 F.3d 655, 671 (D.C. Cir. 1994)(en banc).

Nor is there any indication in Section 13(b)’s sparse legislative history that
Congress intended to provide FTC with broad authority to obtain “equitable
monetary relief" or even considered the possibility13 That watchdog of
congressional intent didn’t bark here. See Common Cause v. FEC, 842 F.Zd 436,
447-48 (D.C. Cir. 1988); see also Finnegan v. Leu, 456 U.S. 431, 441 n.12 (1982).
If it were otherwise, there would have been no reason to enact Section 19, a more

specific statute, only two years later. A contrary result renders Section 19 a nullity

 

‘3 See Beales & Muris, supra, at 4 (“[T]here is no hint in the legislative history

that Congress intended to grant the FTC broad authority to seek monetary relief
when it enacted Section 13(b)....[T]wo years cyi‘er it enacted Section 13(b),
Congress did grant the FTC authority to seek monetary relief in carefully
circumscribed cases. This authority would have been wholly unnecessary under the
current Commission’s new reading of Section 13(b), raising questions about the
validity of this interpretation.”).

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and does violence to the statutory scheme. See FDA v. Brown & Williamson, 529
U.S. 120, 132-33 (2000); see also U.S. v.`Philip Morris, 396 F.3d 1190, 1200 (D.C.
Cir. 2005)(rejecting disgorgement as relief under RICO).

Undeterred, FTC uncovered a hidden “elephant” of new powers within the
legislative “mousehole” of Section 13(b)’s permanent injunction proviso. But see
Whitman v. Am. Trucki'ng Ass ’ns., 531 U.S. 457, 468 (2001)(“Congress, we have
held, does not alter the fundamental details of a regulatory scheme in vague terms or
ancillary provisions . . .”). The vehicle FTC used to do this was judicial precedent
interpreting other statutes enforced by other agencies (in particular, a seventy-year-
old Supreme Court case, Porter v. Warner Holding Co., 328 U.S. 395 (1946)). Cf.
FTC v. Shire Viropharmu, Inc., 18-1807,.2019 WL 908577, at *9 n.16 (3d Cir. Feb.
25, 2019)(rejecting this line of argument “[g]iven the unique history and structure of
the FTC Act” .14 FTC effectively admits this. See, e.g., FTC Opp. to Pet. for
Rehearing En Banc, Dkt. No. 57, FTC v. PBS, at 10-1 l (frled Dec. 20, 2018)(“Porter
and Mitchell form the foundation of this Court’s long established holding that
equitable monetary relief is available under Section 13(b). . . .”).

This should not be permitted to stand. Judicial precedent interpreting different

statutes (enforced by different agencies) cannot trump plain language and structure

 

‘4 Appellate courts have primarily relied on Porter as authority for this dramatic

expansion of FTC’s powers. See FTC v. Singer, 668 F.2d 1107, 1111 (9th Cir.
1982)

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See, e.g., Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S. 618, 640
(2007)(rejecting “analogies to other statutory regimes”); Fogerty v. Fantasy, ]nc.,
510 U.S. 517, 522-25 (1994)(same); see Shire, 2019 WL 908577, at *8 (“We ‘look
to other statutes pertaining to the same subject matter which contain similar terms’
only if ‘the ordinary meaning of a statute and the statute’s legislative history fail to
provide sufficient guidance to a terrn’s meaning.”’ (citation omitted)); see also
Grace v. Collector of Customs, 79 F. 315, 319 (9th Cir. 1897).

Porter should also be viewed in context. Congress granted the Pricc Controls
Board broad powers under the Emergency Price Control Act to limit profiteering
during wartime. Unlike the language in Section 13(b) allowing injunctive relief
only, Section 205(a) allowed that agency to apply for a “permanent or temporary
injunction restraining order, or other order.. . .” Porter, 328 U.S. at 397 (emphasis
added); see id. at 405 (Rutledge, J., dissenting)(rejecting broad construction of
“other order” to include restitution). Porter “constru[ed] the statutory language

‘other order’ to include the remedy of restitution.” U.S. v. Parkinson, 240 F.Zd 918,

920 n.6. (9th Cir. 1956).
FTC may also seek to elide the lack of any textual basis for its claimed 13(b)

powers by advancing a “congressional ratification” argument based on “subsequent
legislative history.” This should be rejected out-of-hand. “Arguments based on

subsequent legislative history, like arguments based on antecedent futurity, should

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not be taken seriously... .” Sullivan v. Finkelstein, 496 U.S. 617, 631-32 (1990)
(Scalia, J., concurring in part); see CPSC v. GTE Sylvania, 447 U.S. 102, 117
(1980)(“views of a subsequent Congress form a hazardous basis for inferring the
intent of an earlier one”).

This Court should likewise reject any attempt by FTC to trot out the old adage
that remedial statutes should be broadly construed See, e.g., Shire, 2019 WL
908577, at *9; see also Encino Motorcars, LLC v. Navarro, 138 S. Ct. 1134, 1142
(2018). lf anything, Section 13(b) should be narrowly construed to protect
defendants’ due-process righ.ts. See Edward J. DeBartolo Co)p. v. FGCBCTC, 485
U.S. 568, 575-78 (1988)(constitutional avoidance canon); U.S. v. Approx. 64,695
Pounds of Shark Fz'ns, 520 F.3d 976, 980 (9th Cir. 2008)(“Due process requires that
an agency provide ‘fair notice. ..before a sanction can be imposed.”’).

E. Separation of Powers Principles Necessitate En Banc Review

FTC is not a legislative body unto itself, but instead must carry out Congress’s
intent FTC has not done so here. “FTC’s understandable preference for litigating
under Section 13(b), rather than in an administrative proceeding, does not justify its
expansion of the statutory language.” Shire, 2019 WL 908577, at *9. FTC’s
litigation preferences must yield to 13(b)’s actual text. See Yith v. Nielsen, 881 F.3d
1155, 1164-65 (9th Cir. 2018); see also Zabriskie v. Fannl`e Mae, 912 F.3d 1192,

1199-200 (9th Cir. 2019)(rejecting purpose-driven construction of consumer-

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protection statute). If FTC wishes to expand its enforcement options, “that is within
Congress’s bailiwick, not” the judiciary. See Ass'n des Eleveurs v. Becerra, 870
F.3d 1140, l 149 (9th Cir. 2017).
II. FI’C’s SECTroN 13(B) PowER-GRAB DEsERvEs No DEFERENCE

Even if the Supreme Court did not fatally undermine FTC’s misinterpretation
of Section 13(b) in Kokesh, FTC v. Commerce Planet, 815 F.3d 593 (9th Cir. 2016),
should still be overruled

Because this Circuit’s Section 13(b) precedent rests on mistaken reliance on
FTC’s wayward Porter-based arguments unsupported by any textual foundation,
any presumption in favor of stare decisis should be deemed rebutted15 See Payne v.
Tennessee, 501 U.S. 808, 827-28 (1991). FTC’s ultra vires preference for seeking
monetary damages under Section 13(b) also unworkany burdens federal courts with
litigation that belongs in FTC’s administrative process, further counseling in favor
of overruling Commerce Planet. Underscoring this, the only entity that relies on this
erroneous interpretation of Section 13(b) is FTC, which uses it for budget-
justifrcation purposes, consistently highlighting to Congress the amount of the

monetary judgments it obtains. See, e.g., FTC FY 2020 Congressional Budget

 

15 See generally Pepson & Sharifr, Lego v. Twomey: The Improbable

Relationship Between an Obscure Supreme Court Decision and Wrongful
Convictions, 47 AM. CRIM. L. REV. 1185, 1245-49 (2010)(discussing factors).

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lustilication, p.7 (“ln FY 2018, the FTC filed 48 new complaints in federal district
court and obtained 84 permanent injunctions and orders requiring defendants to pay
more than $226.8 million in consumer redress or disgorgement of ill-gotten gains.” ,
at ht_tps://www.ftc.gov/sygem/frles/documents/repgrt§/fy-ZOZO-cong;essional-
budget-justilication/fy 2020 cbj.pdf.16
' Nor can FTC’s litigation positions interpreting Section 13(b) save it. No
deference is due where, as here, the agency’s interpretation is contrary to the statute’s
plain language and structure See also John Hancock Mut. Life Ins. Co. v. Harris
Tr. & Sav. Bank, 510 U.S. 86, 109 (1993).
III. “Nnr IMPREssroN” Tnsr FATALLY FLAWED
This Court should also revisit this Circuit’s “net impression” test for the
reasons set forth in Judge Bea’s special concurrence, As a practical matter, it
authorizes imposition of “deception” liability without evidence of actual
“deception,” harm to even a single identifiable person, expert survey evidence, or
even expert ipse dixit testimony, particularly when coupled with various
extrastatutory “presumptions” in favor of liability, which can effectively relieve FTC

of its burden of proving elements of the offense See, e.g., FTC v. Wellness Support

 

16 Judgments obtained without congressionally mandated due process ought to

be a source of shame, rather than pride for the agency.
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Network, lO-cv-04879-JCS, 2014 WL 644749, at *17 (N.D. Cal. Feb. 19,
2014)(materiality presumption). That is exactly what happened here.

CONCLUSION
This Court should grant AMG’s Petition.

Respectfully sul)mitted,17

/s/ Michael Pepson
John J. Vecchione

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17 Amicus thanks Litigation Support Analyst Elizabeth Rudolf for her aid in
preparing this brief.

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